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FedEx ® Tracking




DELIVERED


Thursday
9/8/22 at 1:07 PM
Signed for by: E.LISSA STANTON

   Obtain proof of delivery

DELIVERY STATUS

Delivered

TRACKING ID

559262602844

          FROM
          MANASSAS, VA US


          WE HAVE YOUR PACKAGE




          ON THE WAY



          OUT FOR DELIVERY



          DELIVERED
          WEEHAWKEN, NJ US

          Delivered
          9/8/22 at 1:07 PM


              View travel history


Want updates on this shipment? Enter your email and we will do the rest!

  YOUR EMAIL                                                               SUBMIT

MORE OPTIONS




    Manage Delivery



 Shipment facts
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          Shipment overview

     TRACKING NUMBER          559262602844


     SHIP DATE          9/6/22


     DELIVERED        9/8/22 at 1:07 PM




          Services

     SERVICE        FedEx Standard Overnight


     SPECIAL HANDLING SECTION             Deliver Weekday, Residential Delivery, Adult Signature Required


     SIGNATURE SERVICES            Adult Signature Required




          Package details


                                                                                                            Back to top


   Travel history

       Ascending


       Local Scan Time



          Thursday, 9/8/22

          1:07 PM
          Delivered
          WEEHAWKEN, NJ



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